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                                                                        LONG ISLAND OFFICE
  UNITED STATES DISTRICT COURT
  EASTERN DISTRICT OF NEW YORK
  ---------------------------X
  UNITED STATES OF AMERICA                                SUPERSEDING
                                                          INDICTMENT
         - against -
                                                          Cr. No. 23-197 {S-2) (JS) {A YS)
  GEORGE ANTHONY DEVOLDER                                 (T. 18, U.S.C., §§ 371,641, 98l(a)(l)(C),
  SANTOS,                                                  982(a)( I ), 982( a)(2 )(B ), 982(b)( 1),
       also known as "George Santos,"                      100l(a)(2), l00l(c)(l), 1028A(a)(l),
                                                           1028A(b), I 028A(c)(4), 1028A(c)( 5),
                           Defendant.                      1029(a)(5), I 029(c)(I )(A)(ii),
                                                           1029(c)(l)(C), 1029(c)(2), 1343, 1519,
                                                           I 957(a), I 957(b), 2 and 3551 et~.;
                                                           T. 21, U.S.C., § 853(p); T. 28, U.S.C.,
                                                           § 246l(c))
  ---------------------------X
  THE GRAND JURY CHARGES:

                               INTRODUCTION TO ALL COUNTS

                 At all times relevant to this Superseding Indictment, unless otherwise indicated:

  I.     Relevant Individuals and Entities

                 1.     The defendant GEORGE ANTHONY DEVOLDER SANTOS, also

  known as "George Santos," was a resident of Queens and Suffolk Counties. During the 2020

  and 2022 election cycles, DEVOLDER SANTOS campaigned as a candidate for the United

  States House of Representatives (the "House"). On or about November 8, 2022, DEVOLDER

  SANTOS was elected the United States Representative for New York's Third Congressional

  District, which covered parts of Queens and Nassau Counties in the Eastern District of New

  York. DEVOLDER SANTOS was sworn into office on or about January 7, 2023.
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                 2.      Devolder-Santos for Congress (the "Committee") was the defendant

  GEORGE ANTHONY DEVOLDER SANTOS's principal congressional campaign committee.

                 3.      Nancy Marks was the treasurer of the Committee. Marks provided

  additional services to the Committee through a political consulting company that she operated

  and which was located in Suffolk County, New York.

                 4.      National Party Committee #I, an entity the identity of which is known to

  the Grand Jury, was a national party committee headquartered in Washington, D.C. National

  Party Committee # 1 managed a program (the "'Program") pursuant to which National Party

  Committee #1 provided financial and logistical support for congressional candidates who

  qualified for the Program. The Program had three phases, each with its own qualifying criteria.

  To qualify for the second phase of the Program, congressional candidates were required, among

  other things, to demonstrate that their campaign committee had raised at least $250,000 from

  third-party contributors in a single quarter.

                 5.      The Devolder Organization LLC was a Florida Limited Liability

  Company ("LLC") formed on or about May 11, 2021. with its principal place of business in

  Melbourne, Florida. The defendant GEORGE ANTHONY DEVOLDER SANTOS was the sole

  beneficial owner of the Devolder Organization LLC.

                 6.      Company #1, an entity the identity of which is known to the Grand Jury,

  was a Florida LLC formed on or about November 1, 2021, with its principal place of business in

  Merritt Island, Florida. At the time of its organization, Company # 1 had two authorized

  managers, one of which was the Devolder Organization LLC.

                 7.      Person #I, an individual whose identity is known to the Grand Jury, was a

  political consultant operating in Queens County and surrounding areas, including areas within
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  the Eastern District of New York. In or about and between September 2022 and October 2022,

  at the direction of the defendant GEORGE ANTHONY DEVOLDER SANTOS, Person #1 acted

  on behalf of Company # 1.

                 8.      Investment Firm #I, an entity the identity of which is known to the Grand

  Jury, was a Nevada corporation with its principal place of business in Melbourne, Florida.

  Investment Firm # 1 was purportedly engaged in retail sales of securities products. In or about

  and between January 2020 and March 31, 2021, the defendant GEORGE ANTHONY

  DEVOLDER SANTOS was employed by Investment Firm #1 as a Regional Director. In that

  capacity, DEVOLDER SANTOS received an annual salary of approximately $120,000, which

  was deposited into a personal bank account maintained by DEVOLDER SANTOS ("Devolder

  Santos Bank Account # 1") in regular intervals beginning on or about February 3, 2020, and

  continuing through on or about April 15, 2021.

  II.    Applicable Campaign Finance Laws

                 9.      The Federal Election Campaign Act of 1971, as amended, Title 52, United

  States Code§ 30101, et seq. (the "Election Act"), limited financial influence in the election of

  candidates for federal office and provided for public disclosure of the financing of federal

  election campaigns. The Federal Election Commission ("FEC") was an agency of the United

  States entrusted with the responsibility of administering and enforcing the Election Act. To

  deter abuses and instill public confidence in the election process, the FEC was responsible for

  receiving and making available to the public specific, accurate information about, among other

  things, the amounts and sources of political contributions to federal candidates and political

  committees.
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                 10.      The Election Act prohibited a federal candidate or an agent of a federal

  candidate from soliciting, receiving, directing or transferring funds in connection with a federal

  election unless the funds were subject to the limitations, prohibitions and reporting requirements

  of the Election Act.

                 1I.      The Election Act limited the amount and sources of money that could be

  contributed to a federal candidate or a federal candidate's authorized campaign committee and

  political committees established and maintained by a national political party. In particular,

  while candidates for federal office were permitted to give or loan their own campaigns unlimited

  sums of money, for the 2022 election cycle, other individuals were limited to contributing $2,900

  per primary election per candidate committee and $2,900 per general election per candidate

  committee.

                 12.      The Election Act prohibited a person from making a political contribution

  in the name of another person, including by giving funds to a "straw" or "conduit" contributor

  for the purpose of having the straw donor or conduit pass the funds on to a federal candidate as

  his or her own contribution. The Election Act expressly provided that contributions made

  through an intermediary were treated as contributions from the original source. The Election

  Act also prohibited a person from knowingly permitting his name to be used to effect such a

  conduit contribution.

                 13.      Pursuant to the Election Act, the FEC required authorized campaign

  committees, such as the Committee, to file periodic reports of receipts and disbursements

  identifying, among other things, each person or organization that made a contribution to such

  committee during the relevant reporting period whose contribution or contributions had an

  aggregate amount or value in excess of $200 within the election cycle, together with the date and
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  the amount of any such contribution. The Election Act and the FEC also required every person

  or organization that was not a political committee and that made independent expenditures in

  excess of $250 with respect to a given election in a calendar year to report those expenditures, to

  identify each person or organization who made a contribution in excess of $200 to further the

  reported independent expenditures, and to certify under penalty of perjury that the expenditure

  was not made in cooperation, consultation or in concert with, or at the request or suggestion of, a

  candidate, a candidate's authorized committee or their agents. These periodic reports, which

  were filed with the FEC for the FEC to make publicly available, were intended to provide the

  public with a record of all contributions to candidates for federal office in an effort to combat

  quid pro quo corruption or the appearance of quid pro quo corruption. As such, they constituted

  the public's primary window into the sources of funding for federal election campaigns.

                 14.     An independent expenditure-only committee, or "Super PAC," was a type

  of political committee that could accept unlimited contributions and make unlimited

  expenditures independent of a candidate or campaign. Super PA Cs were prohibited from

  making contributions to candidates in the form of coordinated expenditures. Super PA Cs were

  required to register with the FEC within 10 days of receiving contributions or making

  expenditures aggregating more than $1,000 during a calendar year.

  III.   The Defendant's Campaign-Related Fraudulent Schemes

                 15.     During the 2022 election cycle, the defendant GEORGE ANTHONY

  DEVOLDER SANTOS devised and executed at least three fraudulent schemes to obtain money

  for himself and for the Committee by making various material misrepresentations and omissions

  to, among others, the FEC, National Party Committee # 1, potential contributors to the

  Committee and the public.
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                 16.    First, in or about and between December 2021 and November 2022, the

  defendant GEORGE ANTHONY DEVOLDER SANTOS and Nancy Marks devised and

  executed a scheme to submit materially false reports to the FEC on behalf of the Committee in

  which they fraudulently inflated the Committee's fundraising numbers for the purpose of

  misleading the FEC, National Party Committee #1 and the public. The purpose of the scheme

  was to qualify DEVOLDER SANTOS for different phases of the Program and thereby receive

  financial and logistical support from National Party Committee # I (the "Party Program

  Scheme"). As part of the Party Program Scheme, DEVOLDER SANTOS and Marks agreed to

  falsely report to the FEC that family members of DEVOLDER SANTOS and Marks had made

  significant financial contributions to the Committee, when DEVOLDER SANTOS and Marks

  both knew that these individuals had not made the reported contributions. Further, as part of the

  Party Program Scheme, DEVOLDER SANTOS and Marks agreed to falsely report to the FEC

  that DEVOLDER SANTOS had loaned the Committee significant sums of money, when

  DEVOLDER SANTOS had not made the reported loans and, in fact, did not have the funds

  necessary to make such loans at the time.

                 17.    Second, in or about and between December 2021 and August 2022, the

  defendant GEORGE ANTHONY DEVOLDER SANTOS devised and executed a fraudulent

  scheme whereby he stole personal identity and financial information of individuals who had

  contributed to the Committee and used it to cause these individuals' credit cards to be charged

  repeatedly without authorization (the "Credit Card Fraud Scheme"). Through these

  unauthorized transactions, DEVOLDER SANTOS transferred funds to the Committee, to the

  campaigns of other candidates for elected office and to his personal bank account. Further, for

  the purpose of concealing the true source of funds and circumventing campaign contribution
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  limits, DEVOLDER SANTOS falsely represented that the political contributions were made by

  other individuals, such as DEVOLDER SANTOS's relatives and associates.

                 18.    Third, in or about and between September and October 2022, the

  defendant GEORGE ANTHONY DEVOLDER SANTOS devised and executed a scheme to

  defraud and to obtain money from supporters of his candidacy for the House by fraudulently

  inducing them to contribute funds to Company # l under the false pretense that the money would

  be used to support DEVOLDER SANTOS's candidacy. In truth, DEVOLDER SANTOS spent

  thousands of dollars of the solicited funds on personal expenses, including luxury designer

  clothing and credit card payments (the "Company #1 Fraud Scheme"). DEVOLDER SANTOS

  personally and through Person # l communicated false information about Company # 1 to those

  supporters, including that Company # 1 was a Section 501 (c )( 4) social welfare organization or an

  independent expenditure-only committee and that contributions made to Company #1 would be

  used on independent expenditures in support of DEVOLDER SANTOS's candidacy during the

  2022 election cycle. In actuality, Company #1 was neither a Section 501(c)(4) social welfare

  organization nor an independent expenditure-only committee, and upon receipt of contributions

  by those supporters to Company #1, DEVOLDER SANTOS converted much of those funds to

  his own personal benefit.

         A.      The Party Program Scheme

                 19.     Throughout 2021, the defendant GEORGE ANTHONY DEVOLDER

  SANTOS and Nancy Marks sought for the Committee to report fundraising totals sufficient to

  meet the $250,000 threshold necessary to qualify for the second phase of the Program. For

  example, on or about April I, 2021, Marks emailed the defendant GEORGE ANTHONY

  DEVOLDER SANTOS and other agents of the Committee, stating, "Our goal is to go higher
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  each quarter so as everyone is aware, it is to make [the Program]."

                 20.     For the third quarter of 2021, the Committee failed to qualify for the

  Program due, in part, to its failure to report $250,000 in contributions from third-party

  contributors in the quarter.

                 21.     On or about October 12, 2021, the defendant GEORGE ANTHONY

  DEVOLDER SANTOS sent a text message to agents of the Committee, including Nancy Marks,

  asking an agent to "check in with" an employee of National Party Committee# I to determine

  why the Committee failed to qualify for the Program. An agent of the Committee responded to

  DEVOLDER SANTOS that "the only driver that matters is raising $250K (not loans or

  candidate contributions) in a single quarter," and "[i]t's really that simple though ... $250K raised

  from donors within a quarter. We haven't done that yet and that should be our focus."

  DEVOLDER SANTOS replied, "We are going to do this a little different. I got it."

                         Fraudulent Year-End 2021 Report

                 22.     In or about and between December 2021 and January 2022, the defendant

  GEORGE ANTHONY DEVOLDER SANTOS and Nancy Marks conspired and agreed to

  falsely inflate the Committee's fundraising totals, including, but not limited to, in public filings

  with the FEC, in order to mislead the FEC, National Party Committee #1 and the public so that

  DEVOLDER SANTOS would qualify for the Program and receive financial and logistical

  support from National Party Committee # 1.

                 23.     In furtherance of that scheme to defraud, on or about December 18, 2021,

  the defendant GEORGE ANTHONY DEVOLDER SANTOS texted Nancy Marks a list of the

  names of family members ofDEVOLDER SANTOS and Marks, along with purported

  contribution amounts for each corresponding family member, for Marks to enter into the Year-
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  End 202 I Report to the FEC for the purpose of ensuring that the Committee appeared to reach

  the $250,000 threshold necessary to qualify for the second phase of the Program. Contrary to

  the representations made by DEVOLDER SANTOS, none of the family members of

  DEVOLDER SANTOS and Marks had made, or ever did make, the listed contributions.

                24.     Specifically, the defendant GEORGE ANTHONY DEVOLDER

  SANTOS' s text message to Nancy Marks on or about December I 8, 202 I, falsely stated the

  following non-existent contributions to the Committee: (a) a $5,800 contribution from

  Contributor #1, an individual whose identity is known to the Grand Jury; (b) a $5,800

  contribution from Contributor #2, an individual whose identity is known to the Grand Jury; (c) a

  $5,800 contribution from Contributor #3, an individual whose identity is known to the Grand

  Jury; (d) a $5,800 contribution from Contributor #4, an individual whose identity is known to the

  Grand Jury; (e) a $5,800 contribution from Contributor #5, an individual whose identity is

  known to the Grand Jury; (f) a $5,800 contribution from Contributor #6, an individual whose

  identity is known to the Grand Jury; (g) a $5,800 contribution from Contributor #7, an individual

  whose identity is known to the Grand Jury; (h) a $5,800 contribution from Contributor #8, an

  individual whose identity is known to the Grand Jury; (i) a $5,800 contribution from Contributor

  #9, an individual whose identity is known to the Grand Jury; and G) a $2,900 contribution from

  Contributor#I0, an individual whose identity is known to the Grand Jury. DEVOLDER

  SANTOS also texted Marks: "These are the donations we spoke about last night before we went

  to sleep. Total of $55,100. Let's talk Monday in person."

                 25.    On or about December 21, 2021, after Nancy Marks texted the defendant

  GEORGE ANTHONY DEVOLDER SANTOS seeking the "list of donors - your family,"

  DEVOLDER SANTOS again texted Marks the names and purported contribution amounts of
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  Contributor# I, Contributor #2, Contributor #3, Contributor #4, Contributor #5, Contributor #6,

  Contributor #7, Contributor #8, Contributor #9 and Contributor# I 0. This time, DEVOLDER

  SANTOS also included addresses and occupations for his relatives - information that

   DEVOLDER SANTOS knew would be required for the Year-End 2021 Report to the FEC.

  That same day, Marks emailed herself the content of this text message.

                  26.    In or about January 2022, the defendant GEORGE ANTHONY

   DEVOLDER SANTOS repeatedly texted Nancy Marks about ensuring that the Committee

  reached the $250,000 threshold necessary to qualify for the second phase of the Program.

   DEVOLDER SANTOS advised Marks that he "really would like to know the final numbers for

  the quarter." On or about January 3 I, 2022, DEV OLDER SANTOS asked Marks "what did we

   figure out about the report," and expressed that he was "lost and desperate."

                  27.    On or about January 31, 2022, the Committee submitted the Year-End

  2021 Report to the FEC, with Nancy Marks certifying that she had "examined this Report and to

  the best ofmy knowledge and belief it is true, correct and complete." The Year-End 2021

  Report to the FEC falsely reported the following contributions to the FEC:

                              Contributor #     Amount Reoorted           Date
                                    l               $5,800             12/3 l/21
                                    2               $2,900             12/31 /2 l
                                    3               $5,800             12/3 l /2 l
                                    4               $2,900             12/31/21
                                    5               $5,800             12/16/21
                                    6               $5,800             11/15/21
                                    7               $5,800             12/31/21
                                    8               $5,800             12/31/21
                                    9               $5,800              11/3/21
                                     IO             $3,900              I 0/9/21

                  28.    The Year-End 2021 Report further falsely reported a contribution of

  $2,900 from another family member of Nancy Marks, Contributor # I I, an individual whose
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   identity is known to the Grand Jury. These falsely reported contributions contained in the Year-

  End 2021 Report to the FEC totaled $53,200, causing the Committee to falsely claim total

  quarterly receipts of $251,549.68 and thereby surpass the $250,000 threshold necessary to

  qualify for the second phase of the Program. The defendant GEORGE ANTHONY

  DEVOLDER SANTOS and Marks knew that none of these reported contributions were true.

                 11.     The Defendant Qualifies for the Second Phase of the Program

                 29.     Following the submission of the fraudulent Year-End 2021 Report to the

  FEC, on or about February IO, 2022, the defendant GEORGE ANTHONY DEVOLDER

  SANTOS signed an application for the Program and caused it to be submitted to National Party

  Committee #I. The application noted that candidates accepted into the Program would be

  eligible for ''additional campaign financial support," such as "hybrid ads, coordinated

  expenditures, focus groups, splitting the cost of polling, etc." DEVOLDER SANTOS also

  submitted a biography falsely asserting, among other things, that he had worked for several

  prominent Wall Street financial institutions.

                 30.     On or about February 23, 2022, the defendant GEORGE ANTHONY

  DEVOLDER SANTOS texted Nancy Marks, ''I GOT [THE PROGRAM]!"

                 31.     Based, in part, on its belief that the Committee had exceeded the $250,000

  quarterly fundraising benchmark as reported in the Year-End 2021 Report to the FEC, National

  Party Committee #1 announced the defendant GEORGE ANTHONY DEVOLDER SANTOS as

  a candidate in the second phase of the Program on or about February 25, 2022.

                 m.      Fraudulent April 2022 Quarterly Report

                 32.     In or about and between March and April 2022, the defendant GEORGE

  ANTHONY DEVOLDER SANTOS and Nancy Marks continued their efforts to falsely inflate
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  the Committee's fundraising totals, including, but not limited to, in public filings with the FEC,

   in order to mislead the FEC, National Party Committee #1, and the public so that DEVOLDER

  SANTOS would qualify for all phases of the Program and receive financial and logistical support

  from National Party Committee #1. DEVOLDER SANTOS and Marks agreed to falsely

  represent in presentations and communications with National Party Committee # I and in a

  quarterly submission to the FEC that DEVOLDER SANTOS had loaned the Committee

  $500,000, when, in fact, he had not.

                 33.     In approximately March 2022, the defendant GEORGE ANTHONY

  DEVOLDER SANTOS continued to express concern with ensuring that the Committee reported

  favorable fundraising totals in the first quarter of 2022. For example, on or about March 7,

  2022, the defendant GEORGE ANTHONY DEVOLDER SANTOS texted an associate, "I have

  my back against the wall this quarter lol."

                 34.     Similarly, on or about March 15, 2022, the defendant GEORGE

  ANTHONY DEVOLDER SANTOS texted another associate about the importance of the

  Committee reporting substantial fundraising totals for the purpose of ensuring he qualified for

  the Program and would receive the expected financial support from National Party Committee

  #1, stating: "I have a very important meeting at the end of this week with [National Party

  Committee #1]. This meeting will decide if they will invest in my race & so we need to come in

  with very strong fundraising numbers. There are several million dollars on the line with this,

  and having your name as a contributor to my campaign would be a very great help."

                 35.     On or about March 21, 2022, the defendant GEORGE ANTHONY

  DEVOLDER SANTOS caused agents of the Committee to deliver a "Path to Victory"

  presentation to National Party Committee # l, which falsely represented to National Party
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  Committee# I staff members that DEVOLDER SANTOS was loaning the Committee $500,000

  during the first quarter of 2022. Further, the presentation listed as a "Key Factor" DEVOLDER

   SANTOS's "[p]ersonal and political capital that will allow for a fully-fund~d operation."

                  36.     When agents of the Committee inquired, the defendant GEORGE

   ANTHONY DEVOLDER SANTOS falsely represented that he was, in fact, making the

   purported $500,000 loan to the Committee. For example, on or about March 30, 2022, an agent

   of the Committee texted DEVOLDER SANTOS: "Random: Did you get the wire done for the

   QI loan?" DEVOLDER SANTOS responded: "That's getting done tomorrow and it's not a

   wire, banker check." However, DEVOLDER SANTOS did not provide the Committee with a

   check for the purported $500,000 loan, nor did he wire transfer such funds at that time.

   Moreover, at that time, DEVOLDER SANTOS did not have the funds to cover such a loan. In

   truth, DEYOLDER SANTOS had less than $8,000 in his personal and business bank accounts.

                  37.     On or about April 13, 2022, the Committee further publicized inaccurate

   fundraising totals for the Committee for the first quarter of 2022, relying on the false

   representation by the defendant GEORGE ANTHONY DEYOLDER SANTOS that he had

   loaned the Committee $500,000. Specifically, the Committee issued a press release in which it

   stated that the Committee would "report roughly $800,000 raised in QI, a significant sum in

   what is likely to be one of the most expensive races in the country." This statement of the

   fundraising totals of the Committee included the non-existent $500,000 loan purportedly made

   by DEVOLDER SANTOS. The press release further reported that DEVOLDER SANTOS had

   qualified for the second phase of the Program by National Party Committee #1, "a sign of

   national [political party's] growing interest and belief in the competitiveness of this seat."
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                   38.   On or about April 15, 2022, the Committee submitted the April 2022

  Quarterly Report to the FEC, with Nancy Marks certifying that she had "examined this Report

  and to the best of my knowledge and belief it is true, correct and complete." The April 2022

  Quarterly Report to the FEC falsely reported that DEVOLDER SANTOS had loaned the

  Committee $500,000 on March 31, 2022. DEVOLDER SANTOS and Nancy Marks did so for

  the purpose of making the Committee appear more financially sound than it was, knowing that

  the FEC, National Party Committee # 1 and the public would rely on the truth and accuracy of

  these reports.

                   1v.   National Party Committee #1 Provides Financial Support to the
                         Committee

                   39.   Based, in part, on the misrepresentations made by the defendant GEORGE

  ANTHONY DEVOLDER SANTOS and Nancy Marks about the financial position of the

  Committee in its reports to the FEC, presentations to National Party Committee # 1 and public

  statements, National Party Committee #1 announced that DEVOLDER SANTOS had qualified

  for the third and final phase of the Program on or about June 14, 2022.

                   40.   As a result of the defendant GEORGE ANTHONY DEVOLDER

  SANTOS's qualification for the third and final phase of the Program, National Party Committee

  # 1 provided financial and logistical support to the Committee.

                   41.   For example, on or about September 27, 2022, National Party Committee

  # 1 and the Committee agreed to split the cost of a political poll, financial assistance that the

  defendant GEORGE ANTHONY DEVOLDER SANTOS knew to be a benefit derived from his

  qualification for the third and final phase the Program.

                   42.   Similarly, qualification for the third and final phase of the Program

  entitled the defendant GEORGE ANTHONY DEVOLDER SANTOS to participate in joint
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  fundraising committees with other qualified members of the Program. On or about September

  28, 2022, the Committee and another political committee affiliated with DEVOLDER SANTOS

   received wire transfers from a joint fundraising committee for qualified members of the Program.

  On or about October 18, 2022, the Committee and another political committee affiliated with

  DEVOLDER SANTOS received a second round of wire transfers from a joint fundraising

  committee for qualified members of the Program.

          B.       The Credit Card Fraud Scheme

                   43.   As part of the Credit Card Fraud Scheme, the defendant GEORGE

  ANTHONY DEVOLDER SANTOS obtained the personal identity and financial information of

   individuals who had contributed to the Committee and then caused their access devices to be

  charged repeatedly without authorization for DEVOLDER SANTOS's direct and indirect

  benefit, oftentimes concealing the true source of the funds by misappropriating the personal

   identity information of relatives and associates of DEVOLDER SANTOS without their

  authorization.

                   44.   For example, on or about December 14, 2021, Contributor #12, an

   individual whose identity is known to the Grand Jury, texted the defendant GEORGE

  ANTHONY DEVOLDER SANTOS and another agent of the Committee, providing bi1ling

   information for two credit cards belonging to Contributor # 12 for the purpose of authorizing a

  contribution to the Committee. Thereafter, on or about December 17, 2021 two contributions-

  one for $5,800 and one for $5,000 - were made to the Committee or affiliated political

  committees using the credit card billing information provided by Contributor #12. That same

  day, DEVOLDER SANTOS caused a third contribution (the "Fraudulent Contribution"), for
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  $5,000, to be made to the Committee or affiliated political committees using the credit card

  billing information provided by Contributor# 12.

                 45.     As a result, approximately $15,800 in campaign contributions to the

   Committee or affiliated political committees was charged to the credit cards of Contributor# 12

  on or about December 17, 2021. This total exceeded the limits set by the Election Act for the

  2022 election cycle. Contributor # 12 did not know of or authorize charges exceeding such

   limits. For the purpose of masking the true source of some of these funds and thereby

  circumventing the Election Act's limits on the amount and sources of money that could be

  contributed to a federal candidate for elected office, DEVOLDER SANTOS falsely identified the

  source of the funds for the Fraudulent Contribution to be a relative of DEVOLDER SANTOS,

   Person #2, an individual whose identity is known to the Grand Jury. As a result ofDEVOLDER

  SANTOS' s fraudulent deception, the Committee submitted the Year-End 2021 Report to the

   FEC on or about January 31, 2022, which falsely identified Person #2 as the source of the funds

  for a $2,400 contribution and a $2,600 contribution, both made on December 17, 2021.

                 46.     In the following months, without the knowledge or authorization of

  Contributor #12, the defendant GEORGE ANTHONY DEVOLDER SANTOS repeatedly used

  the credit card billing information of Contributor# 12 in attempts to make at least $44,800 in

  unauthorized charges. DEVOLDER SANTOS attempted to use the credit card billing

   information of Contributor # 12 to make contributions to the Committee and to the campaign

  committees of other candidates for elected office in the names of, among others:

  (a) DEVOLDER SANTOS himself; (b) Person #2; (c) Person #3, an individual whose identity is

  known to the Grand Jury; and (d) Person #4, an individual whose identity is known to the Grand

  Jury.
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                  47.     On at least one occasion, the defendant GEORGE ANTHONY

   DEVOLDER SANTOS used the credit card billing information for Contributor #12 to transfer

   more than $11,000 to DEVOLDER SANTOS's personal bank account, again without the

   knowledge or authorization of Contributor #12. On or about August 1, 2022, DEVOLDER

   SANTOS used the credit card billing information for Contributor #12 to cause a charge of

   $12,000, using the credit card processing account of Company # 1. Of that sum, approximately

   $11,651.70 was transferred to the bank account of Company #I. That same day, approximately

   $11,580 was then transferred from the bank account of Company # 1 to the personal bank account

   ofDEVOLDER SANTOS.

                  48.     In addition to Contributor #12, DEVOLDER SANTOS used the credit

   card bil1ing information of other individuals to contribute to the Committee and to the campaigns

   of other candidates for elected office, al1 without the knowledge or authorization of the

   individual cardholders. Again, in an effort to mask the true source of the funds and to

   circumvent the Election Act's limits on individual contributions, DEVOLDER SANTOS

   repeatedly masked those fraudulent transactions by using the names of other unwitting

   individuals, including individuals who had previously contributed to his campaign and his own

   relatives, among others.

          C.      The Company # I Fraud Scheme

                  49.     As part of the Company #1 Fraud Scheme, the defendant GEORGE

   ANTHONY DEVOLDER SANTOS directed Person # I to solicit contributions to Company# 1

   from prospective contributors via emails, text messages and telephone calls. In furtherance of

   those efforts, DEVOLDER SANTOS arranged for the creation of an email address associated

   with Company # 1 for Person #I, provided Person # I with the names and contact information of
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  prospective contributors and conveyed false information to Person # I about the nature of

   Company #1 and the purpose of the contributions, knowing that Person #I would then

   communicate the false information to prospective contributors.

                 50.     At the direction of the defendant GEORGE ANTHONY DEVOLDER

   SANTOS, Person # I falsely advised prospective contributors, inter alia, that Company # I was a

   Section 50l(c)(4) social welfare organization or an independent expenditure-only committee and

  therefore not subject to contribution limits, and that contributions to Company # 1 would be spent

  on television advertisements and other independent expenditures benefitting DEVOLDER

  SANTOS's candidacy for the House. At the direction ofDEVOLDER SANTOS, Person #1

  also provided prospective contributors with instructions for wiring funds to a bank account

  maintained by Company #1, as to which DEVOLDER SANTOS was an authorized signatory

  ("Company # 1 Bank Account").

                 51.     It was further a part of the scheme to defraud that the defendant GEORGE

  ANTHONY DEVOLDER SANTOS sent to prospective contributors one or more text messages

   in which he requested that those prospective contributors speak with representatives of Company

  # 1, indicated that he needed contributions to Company # I and falsely represented that such

  contributions would be spent on television advertisements independently purchased by Company

  #1 in support ofDEVOLDER SANTOS's candidacy for the House.

                 52.     After receiving emails and text messages from the defendant GEORGE

  ANTHONY DEVOLDER SANTOS and Person #1, and in reliance upon the materially false

  statements therein, one or more individuals made contributions to Company # I in sums

  exceeding the limits pertaining to candidate committees.
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                  53.    On or about September 12, 2022, the defendant GEORGE ANTHONY

   DEVOLDER SANTOS falsely advised Person #1 via text message that Company #1 was "a

  small C4" that existed 'just to help this race" and that there were "no limits" with respect to

  contributions. Section 50l(c)(4) of the Internal Revenue Code related to tax-exempt social

  welfare organizations. DEVOLDER SANTOS knew that Company #1 was not, in fact,

  registered with the Internal Revenue Service as a Section 501 (c)(4) social welfare organization.

                  54.    On or about October 4, 2022, Person # 1, acting at the direction of the

  defendant GEORGE ANTHONY DEVOLDER SANTOS and on behalf of Company #1, sent an

  email to Contributor# 13, an individual whose identity is known to the Grand Jury. That email

  falsely stated, inter alia, that Company # I was attempting to "raise another $700,000 dollars to

   reach our goal of $1.5 million to invest in [DEYOLDER SANTOS's] race" to compete with the

  money "independently" raised for DEVOLDER SANTOS's opponent. Thereafter, on or about

  October 20, 2022, Person # 1, again acting at the direction of DEVOLDER SANTOS and on

   behalf of Company # 1, sent to Contributor# I 3 another email, which falsely stated that a

  contribution from Contributor # 13 would be spent, at least in part, "to get our advertising up on

  TY." On or about October 25, 2022, Person #1, again acting at the direction of DEVOLDER

  SANTOS and on behalf of Company #I, sent to Contributor # 13 a text message, which again

  falsely stated that a contribution from Contributor # 13 would be spent, at least in part, "to

  purchase ads supporting George Santos." On or about October 26, 2022, in reliance upon these

  emails and text message, Contributor #13 caused the sum of $25,000 to be wired to Company #1.

                  55.    In addition, on or about October 12, 2022, Person #1, acting at the

  direction of the defendant GEORGE ANTHONY DEVOLDER SANTOS and on behalf of

  Company # 1, sent an email to Contributor# 14, an individual whose identity is known to the
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  Grand Jury. That email falsely stated, inter al ia, that Company # 1 was formed "exclusively" to

  aid in electing DEVOLDER SANTOS and that "[t]here are no limits for contributors as we are a

  501 c4 Independent Expenditure committee under federal campaign finance law and do not

  coordinate directly with the Santos campaign." The email to Contributor #14 further stated that

  all funds raised by Company# 1 would be spent "directly on supporting George and his election."

  Further, the email to Contributor #14 contained an attachment, which DEVOLDER SANTOS

  had previously approved. That attachment described Company # I as having been "created for

  this singular purpose, to support that candidate, George Santos" and represented that Company

  # I was "fully committed to dedicating all its resources to making sure that George Santos is the

  next member of Congress representing NY-03." On or about October 21, 2022, DEVOLDER

  SANTOS sent to Contributor# 14 one or more text messages in which DEVOLDER SANTOS

  reiterated the need for contributions to Company # 1, which he falsely stated would be spent "on

  TV" advertisements. That same day, in reliance upon the email and accompanying text

  messages, Contributor #14 caused the sum of $25,000 to be wired to Company #1.

  DEVOLDER SANTOS knew that Company #1 was not, in fact, registered with the FEC as an

  independent expenditure-only committee or Super PAC.

                 56.    Shortly after the contributions from Contributor # 13 and Contributor # 14

  were received by Company # 1 in the Company # 1 Bank Account, they were transferred into

  bank accounts controlled by the defendant GEORGE ANTHONY DEVOLDER SANTOS,

  including Dev older Santos Bank Account # 1 and a second personal bank account maintained by

   DEVOLDER SANTOS ("Devolder Santos Bank Account #2"). From there, the funds received

  from Contributor #13 and Contributor #14 were spent by DEVOLDER SANTOS for his

  personal benefit, including to make cash withdrawals, personal purchases of luxury designer
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  clothing, credit card payments, a car payment, payments on personal debts and one or more bank

  transfers to DEVOLDER SANTOS's personal associates. Thus, contrary to representations

   made by DEVOLDER SANTOS and Person #I, who was acting at the direction of DEVOLDER

   SANTOS, these contributions to Company #1 were not spent on television advertisements or

  other independent expenditures in support ofDEVOLDER SANTOS's candidacy for the House.

   IV.    The Defendant's Employment-Related Fraudulent Schemes

          A.     Fraudulent Application for and Receipt of Unemployment Benefits

                 57.     On or about March 27, 2020, the Coronavirus Aid, Relief, and Economic

   Security ("CARES") Act was enacted. In light of the ongoing health crisis related to the novel

  coronavirus, COVID-19, the CARES Act allocated additional unemployment benefits for

  e1igible individuals. Specifically, the CARES Act established additional unemployment

   insurance programs, including the Pandemic Unemployment Assistance program and the Federal

   Pandemic Unemployment Compensation program. Both programs were federally funded and

   were administered by states, including New York State. Funds from both programs, as well as

  from the Federal Emergency Management Agency's Lost Wages Assistance Program, comprised

  the benefits fraudulently obtained by the defendant GEORGE ANTHONY DEVOLDER

   SANTOS in connection with the scheme outlined below.

                 58.     On or about June 17, 2020, the defendant GEORGE ANTHONY

   DEVOLDER SANTOS applied to receive unemployment insurance benefits through the New

   York State Department of Labor ("NYS DOL''). In that application, DEVOLDER SANTOS

   falsely claimed to have been unemployed since the week of March 22, 2020. Beginning on or

  about June 19, 2020, and continuing through on or about April 15, 2021, DEVOLDER SANTOS

  certified his continuing eligibility for unemployment benefits on a weekly basis, in each case
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   falsely attesting, inter alia, that he was unemployed, available to take on new work and eligible

   for benefits. In truth and in fact, however, beginning on or about February 3, 2020, and

  continuing through on or about April 15, 2021, DEVOLDER SANTOS was a Regional Director

   at Investment Firm # 1. During that period, with the exception of approximately July 5, 2020,

  through August 30, 2020, DEVOLDER SANTOS received regular deposits into his personal

   bank accounts as part of his Regional Director salary of approximately $120,000 per year.

                  59.     For the period of approximately March 22, 2020, through April 15, 2021,

   based on a false application and false weekly certifications to the NYS DOL, the defendant

  GEORGE ANTHONY DEVOLDER SANTOS received approximately $24,744 in

   unemployment insurance benefits, which were deposited into Devolder Santos Bank Account #2.

  The benefits received by DEVOLDER SANTOS were fully funded by the United States and a

  department and agency thereof, to wit: the United States Department of the Treasury.

          B.      False Statements in House Disclosure Reports

                  60.     Pursuant to the Ethics in Government Act of 1978, as a candidate for the

   House in 2020 and 2022, the defendant GEORGE ANTHONY DEVOLDER SANTOS had a

   legal duty to file a Financial Disclosure Statement ("House Disclosures") at designated times

   prior to each of the general elections held on November 3, 2020, and November 8, 2022,

  respectively. In each of those House Disclosures, DEVOLDER SANTOS was required to make

  a "full and complete statement" disclosing, inter alia: (a) his assets and income, transactions,

   liabilities, positions held and arrangements and agreements; (b) ·'the source, type, and amount or

  value of income ... from any source (other than from current employment by the United States

  Government)"; and (c) "'the source, date, and amount of honoraria from any source, received" for

  "the year of filing and the preceding calendar year." As a candidate, DEVOLDER SANTOS
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  was personally required to certify the House Disclosures were "true, complete, and correct to the

  best of my knowledge and belief." The Instruction Guide for Financial Disclosure Statements

  published by the U.S. House of Representatives Committee on Ethics provided that there were

  civil and criminal penalties for knowingly and willfully falsifying a financial disclosure

  statement and cited to Title 18, United States Code, Section I 00 I.

                 61.     The defendant GEORGE ANTHONY DEVOLDER SANTOS was

  required to make these House Disclosures via an online filing system maintained by the House

  Committee on Ethics or pre-printed form, and to certify that the statements made therein were

  true, complete and correct. DEVOLDER SANTOS was required to file the House Disclosures

  with the Clerk of the House, for transmission to the House Committee on Ethics.

                 62.     On or about May 11, 2020, in connection with the 2020 election for the

  House, the defendant GEORGE ANTHONY DEVOLDER SANTOS filed two House

  Disclosures (the "2020 House Disclosures") in which he falsely certified that, during the

  reporting period: (a) his only earned income consisted of salary, commission and bonuses

  totaling $55,000 from Company #2, an entity the identity of which is known to the Grand Jury;

  and (b) the only compensation exceeding $5,000 he received from a single source in which he

  had an ownership interest was an unspecified commission bonus from Company #2.

                 63.     Contrary to these attestations, however, as the defendant GEORGE

  ANTHONY DEVOLDER SANTOS then and there well knew and believed, from approximately

  February I, 2020, through the date upon which he filed the 2020 House Disclosures,

  DEVOLDER SANTOS received approximately $25,403 in income from Investment Firm # 1,

  which he failed to truthfully report as required. Further, DEVOLDER SANTOS knew that he

  had received only $27,555 in compensation from Company #2 in 2019.
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                  64.     Thereafter, on or about September 6, 2022, in connection with the 2022

  election for the House, the defendant GEORGE ANTHONY DEVOLDER SANTOS filed a

   House Disclosure (the "2022 House Disclosure"), in which he falsely certified that, during the

   reporting period: (a) his earned income consisted of $750,000 in salary from the Devolder

   Organization LLC; (b) his unearned income included dividends from the Devolder Organization

   LLC valued at between $1,000,001 and $5,000,000; (c) he had no compensation exceeding

   $5,000 from a single source in which he had an ownership interest; (d) he owned a checking

  account with deposits totaling between $100,001 and $250,000; and (e) he owned a savings

  account with deposits totaling between $1,000,00 I and $5,000,000.

                  65.     Contrary to these attestations, as the defendant GEORGE ANTHONY

   DEVOLDER SANTOS then and there well knew and believed, during the applicable reporting

   period, he had not received from the Devolder Organization LLC the reported amounts of salary

  or dividends and, during the reporting period, he did not maintain checking or savings accounts

   with deposits in the reported amounts. In addition, from approximately January 2021 through

   September 2021, DEVOLDER SANTOS received approximately $28,107 in income from

   Investment Firm # 1 and approximately $20,304 in unemployment insurance benefits from the

  NYS DOL, both of which he failed to truthfully report as required.

                                         COUNT ONE
       (Conspiracy to Commit Offenses Against the United States-the Party Program Scheme)

                  66.     The allegations contained in paragraphs one through 65 are realleged and

   incorporated as if fully set forth in this paragraph.

                  67.     In or about and between December 2021 and November 2022, both dates

  being approximate and inclusive, within the Eastern District ofNew York and elsewhere, the
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  defendant GEORGE ANTHONY DEVOLDER SANTOS, together with others, did knowingly

  and intentionally conspire:

                         (a)     to knowingly and intentionally devise a scheme and artifice to

  defraud and to obtain money and property by means of one or more materially false and

  fraudulent pretenses, representations and promises, in violation of Title 18, United States Code,

  Section 1343;

                         (b)     to knowingly and willfully make one or more materially false,

  fictitious and fraudulent statements and representations in a matter within the jurisdiction of the

  FEC, a department and agency of the United States Government, in violation of Title 18, United

  States Code, Section 1001 (a)(2);

                         (c)     to knowingly conceal, cover up, falsify and make one or more false

  entries in a record and document, and cause others to do so, with the intent to impede, obstruct

  and influence the investigation and proper administration of a matter within the jurisdiction of

  the FEC, a department and agency of the United States Government, and in relation to and

  contemplation of such matter, in violation of Title 18, United States Code, Section 1519; and

                         (d)     to knowingly and intentionally transfer, possess and use, without

  lawful authority, one or more means of identification of another person, during and in relation to

  felony violations, to wit: wire fraud as charged in Count Two and false statements as charged in

  Count Four, knowing the means of identification would belong to another person, in violation of

  Title 18, United States Code, Sections 1028A(a)( 1), 1028A(b) and I 028A(c).

                  68.    In furtherance of the conspiracy and to effect its objects, within the

   Eastern District of New York and elsewhere, the defendant GEORGE ANTHONY DEVOLDER
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  SANTOS, also known as "George Santos," together with others, did commit and cause the

  commission of, among others, the following overt acts:

              Am2roximate Date                              Overt Act

            December 18, 2021         Text messages between DEVOLDER SANTOS and
                                      Nancy Marks referenced in paragraphs 23 and 24.

            December 21, 2021         Text messages between DEVOLDER SANTOS and
                                      Marks referenced in paragraph 25.

            December 21, 2021         Email from Marks to herself referenced in paragraph
                                      25.

            January 31, 2022          Submission by the Committee of Year-End 2021
                                      Report to the FEC referenced in paragraph 27.

            March 21, 2022            Delivery by agents of the Committee of"Path to
                                      Victory" presentation to National Party Committee
                                      # I referenced in paragraph 35.

            March 30, 2022            Text messages between DEVOLDER SANTOS and
                                      an agent of the Committee referenced in paragraph
                                      36.

            April 13, 2022            Press release issued by the Committee referenced in
                                      paragraph 37.

            April 15, 2022            Submission by the Committee of April 2022
                                      Quarterly Report to the FEC referenced in paragraph
                                      38.

                       (Title 18, United States Code, Sections 371 and 3551 et seq.)

                                     COUNTS TWO AND THREE
                                (Wire Fraud - the Party Program Scheme)

                 69.       The allegations contained in paragraphs one through 65 are realleged and

  incorporated as if fully set forth in this paragraph.

                 70.       In or about and between December 2021 and November 2022, both dates

  being approximate and inclusive, within the Eastern District of New York and elsewhere, the
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  defendant GEORGE ANTHONY DEVOLDER SANTOS, also known as "George Santos,"

  together with others, did knowingly and intentionally devise a scheme and artifice to defraud and

  to obtain money by means of one or more materially false and fraudulent pretenses,

   representations and promises.

                  71.       On or about the dates set forth below, for the purpose of executing such

  scheme and artifice, and attempting to do so, the defendant GEORGE ANTHONY DEVOLDER

   SANTOS, also known as "George Santos," together with others, did transmit and cause to be

  transmitted, by means of wire communication in interstate and foreign commerce, one or more

  writings, signs, signals, pictures and sounds, as set forth below:

        Count            Aggroximate Date                              Descrigtion

    TWO                 January 31, 2022        Submission by the Committee of Year-End 2021
                                                Report to the FEC referenced in paragraph 27.

    THREE               April 15, 2022          Submission by the Committee of April 2022
                                                Quarterly Report to the FEC referenced in paragraph
                                                38.

                  (Title 18, United States Code, Sections 1343, 2 and 3551 et seq.)

                                         COUNT FOUR
                  (False Statements- Year-End 2021 Report Submitted to the FEC)

                  72.       The allegations contained in paragraphs one through 65 are realleged and

  incorporated as if fully set forth in this paragraph.

                  73.       On or about January 31, 2022, within the Eastern District of New York

  and elsewhere, the defendant GEORGE ANTHONY DEV OLDER SANTOS, also known as

  "George Santos," together with others, in a matter within the jurisdiction of a department and

  agency of the United States Government, to wit: the FEC, did knowingly and willfully make and

  cause to be made one or more materially false, fictitious and fraudulent statements and
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   representations, to wit: DEVOLDER SANTOS, together with others, caused the Committee to

   submit a Report of Receipts and Disbursements to the FEC falsely stating that: (a) Contributor

   # I made two contributions of $2,900 each to the Committee on December 31, 2021;

   (b) Contributor #2 made one contribution of $2,900 to the Committee on December 31, 2021; (c)

   Contributor #3 made two contributions of $2,900 each to the Committee on December 31, 2021;

   (d) Contributor #4 made one contribution of $2,900 to the Committee on December 31, 2021; (e)

   Contributor #5 made two contributions of $2,900 each to the Committee on December 16, 2021;

  (t) Contributor #6 made two contributions of $2,900 each to the Committee on November 15,

  2021; (g) Contributor #7 made two contributions of $2,900 each to the Committee on December

   31, 2021; (h) Contributor #8 made two contributions of $2,900 each to the Committee on

   December 31, 2021; (i) Contributor #9 made two contributions of $2,900 each to the Committee

   on November 3, 2021; G) Contributor #10 made a contribution of $3,900 to the Committee on

   October 9, 2021; (k) Contributor# 11 made a contribution of $2,900 to the Committee on

   December 31, 2021; and (I) Person #2 made a contribution of $2,400 and a contribution of

   $2,600 to the Committee, both on December 17, 2021. Contrary to these statements, in truth

  and in fact, as DEVOLDER SANTOS then and there well knew and believed, none of these

  contributions had been made to the Committee by the persons reported to be the sources of these

   funds.

                 (Title 18, United States Code, Sections 1001(a)(2), 2 and 3551 et seq.)

                                           COUNT FIVE
        (Falsification of a Record or Document - Year-End 2021 Report Submitted to the FEC)

                  74.     The allegations contained in paragraphs one through 65 are realleged and

   incorporated as if fully set forth in this paragraph.
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                  75.    On or about January 31, 2022, within the Eastern District of New York

   and elsewhere, the defendant GEORGE ANTHONY DEVOLDER SANTOS, also known as

   "George Santos," together with others, did knowingly conceal, cover up, falsify and make one or

   more false entries in a record and document, and cause others to do so, with the intent to impede,

   obstruct and influence the investigation and proper administration of a matter within the

  jurisdiction of a department and agency of the United States, and in relation to and contemplation

   of such matter, to wit: DEV OLDER SANTOS, together with others, caused the Committee to

   submit a Report of Receipts and Disbursements to the FEC falsely stating that: (a) Contributor

   # 1 made two contributions of $2,900 each to the Committee on December 31, 2021;

   (b) Contributor #2 made one contribution of $2,900 to the Committee on December 31, 2021; (c)

   Contributor #3 made two contributions of $2,900 each to the Committee on December 31, 2021;

   (d) Contributor#4 made one contribution of$2,900 to the Committee on December 31, 2021; (e)

   Contributor #5 made two contributions of $2,900 each to the Committee on December 16, 2021;

   (f) Contributor #6 made two contributions of $2,900 each to the Committee on November 15,

  2021; (g) Contributor #7 made two contributions of $2,900 each to the Committee on December

   31, 2021; (h) Contributor #8 made two contributions of $2,900 each to the Committee on

   December 31, 2021; (i) Contributor #9 made two contributions of $2,900 each to the Committee

  on November 3, 2021; G) Contributor# IO made a contribution of $3,900 to the Committee on

  October 9, 2021; (k) Contributor# 11 made a contribution of $2,900 to the Committee on

   December 31, 2021 ; and (I) Person #2 made a contribution of $2,400 and a contribution of

   $2,600 to the Committee, both on December 17, 2021. Contrary to these statements, in truth

  and in fact, as DEVOLDER SANTOS then and there well knew and believed, none of these
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  contributions had been made to the Committee by the persons reported to be the sources of the

  funds.

                  (Title 18, United States Code, Sections 1519, 2 and 3551 et seq.)

                                              COUNT SIX
                         (Aggravated Identity Theft-the Party Program Scheme)

                   76.     The allegations contained in paragraphs one through 65 are realleged and

   incorporated as if fully set forth in this paragraph.

                   77.     On or about January 31, 2022, within the Eastern District of New York

  and elsewhere, the defendant GEORGE ANTHONY DEVOLDER SANTOS, also known as

  "George Santos," together with others, during and in relation to the crimes charged in Counts

  Two and Four, did knowingly and intentionally transfer, possess and use, without lawful

  authority, one or more means of identification of a person, to wit: the name of Contributor #I,

  the name of Contributor #2, the name of Contributor #3, the name of Contributor #4, the name of

  Contributor #5, the name of Contributor #6, the name of Contributor #7, the name of Contributor

  #8, the name of Contributor #9, the name of Contributor# 10 and the name of Contributor# 11,

  knowing that the means of identification belonged to said other persons.

                  (Title 18, United States Code, Sections 1028A(a)(I), 1028A(b), 1028A(c)(4),

   1028A(c)(5), 2 and 3551 et seq.)

                                           COUNT SEVEN
                 (False Statement - April 2022 Quarterly Report Submitted to the FEC)

                   78.    The allegations contained in paragraphs one through 65 are realleged and

  incorporated as if fully set forth in this paragraph.

                  79.      On or about April 15, 2022, within the Eastern District of New York and

  elsewhere, the defendant GEORGE ANTHONY DEVOLDER SANTOS, also known as "George
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  Santos," together with others, in a matter within the jurisdiction of a department and agency of

  the United States Government, to wit: the FEC, did knowingly and willfully make and cause to

  be made one or more materially false, fictitious and fraudulent statements and representations, to

  wit: DEVOLDER SANTOS caused the Committee to submit a Report of Receipts and

  Disbursements to the FEC falsely stating that DEVOLDER SANTOS had loaned the Committee

  $500,000 on March 31, 2022. Contrary to this statement, in truth and in fact, as DEVOLDER

  SANTOS then and there well knew and believed, DEVOLDER SANTOS had not loaned the

  Committee $500,000 on March 31, 2022.

                 (Title 18, United States Code, Sections I00I(a)(2), 2 and 3551 et seq.)

                                         COUNT EIGHT
    (Falsification of a Record or Document - April 2022 Quarterly Report Submitted to the FEC)

                  80.    The allegations contained in paragraphs one through 65 are realleged and

  incorporated as if fully set forth in this paragraph.

                  81.    On or about April 15, 2022, within the Eastern District of New York and

  elsewhere, the defendant GEORGE ANTHONY DEVOLDER SANTOS, also known as "George

  Santos," together with others, did knowingly conceal, cover up, falsify and make one or more

  false entries in a record and document, and cause others to do so, with the intent to impede,

  obstruct and influence the investigation and proper administration of a matter within the

  jurisdiction of a department and agency of the United States, and in relation to and contemplation

  of such matter, to wit: DEVOLDER SANTOS, together with others, caused the Committee to

  submit a Report of Receipts and Disbursements to the FEC falsely stating that DEVOLDER

  SANTOS had loaned the Committee $500,000 on March 31, 2022. Contrary to this statement,
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   in truth and in fact, as DEVOLDER SANTOS then and there well knew and believed,

  DEVOLDER SANTOS had not loaned the Committee $500,000 on March 31, 2022.

                  (Title 18, United States Code, Sections 1519, 2 and 3551 et seq.)

                                              COUNT NINE
                           (Access Device Fraud - the Credit Card Fraud Scheme)

                   82.      The allegations contained in paragraphs one through 65 are realleged and

   incorporated as if fully set forth in this paragraph.

                   83.       In or about and between December 2021 and August 2022, both dates

  being approximate and inclusive, within the Eastern District of New York and elsewhere, the

  defendant GEORGE ANTHONY DEVOLDER SANTOS, also known as "George Santos,"

  together with others, did knowingly and with intent to defraud effect transactions, with one or

  more access devices issued to another person or persons, to receive payment and other things of

  value during a one-year period the aggregate value of which was equal to or greater than $1,000,

  in a manner affecting interstate commerce.

                  (Title 18, United States Code, Sections 1029(a)(5), 1029(c)(l)(A)(ii) and 3551 et



                                               COUNT TEN
                         (Aggravated Identity Theft - the Credit Card Fraud Scheme)

                   84.      The allegations contained in paragraphs one through 65 are realleged and

  incorporated as if fully set forth in this paragraph.

                   85.      In or about and between December 2021 and August 2022, both dates

  being approximate and inclusive, within the Eastern District of New York and elsewhere, the

  defendant GEORGE ANTHONY DEVOLDER SANTOS, also known as "George Santos,"

  together with others, during and in relation to the crime charged in Count Nine, did knowingly
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   and intentionally transfer, possess and use, without lawful authority, one or more means of

   identification of one or more persons.

                   (Title 18, United States Code, Sections 1028A(a)(1), 1028A(b), 1028A(c)(4), 2

   and 3551 et seq.)

                               COUNTS ELEVEN THROUGH FIFTEEN
                              (Wire Fraud - the Company #I Fraud Scheme)

                   86.     The allegations contained in paragraphs one through 65 are realleged and

   incorporated as if fully set forth in this paragraph.

                  87.       In or about and between September 2022 and October 2022, both dates

   being approximate and inclusive, within the Eastern District of New York and elsewhere, the

   defendant GEORGE ANTHONY DEVOLDER SANTOS, also known as "George Santos,"

   together with others, did knowingly and intentionally devise a scheme and artifice to defraud and

   to obtain money by means of one or more materially false and fraudulent pretenses,

   representations and promises.

                   88.     On or about the dates set forth below, for the purpose of executing such

   scheme and artifice, and attempting to do so, the defendant GEORGE ANTHONY DEVOLDER

   SANTOS, also known as "George Santos," did transmit and cause to be transmitted, by means of

   wire communication in interstate and foreign commerce, one or more writings, signs, signals,

   pictures and sounds, as set forth below:

        Count            Ai:mroximate Date                           DescriQtion

    ELEVEN             October 4, 2022         Email on behalf of Company # 1 to Contributor# 13
                                               falsely stating that funds received from Contributor
                                               #13 would be used in support of DEVOLDER
                                               SANTOS's candidacy for the House.
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        Count            Aggroximate Date                            Oescrigtion

    TWELVE            October 12, 2022         Email on behalf of Company #I to Contributor#l4
                                               falsely stating that funds received from Contributor
                                               # 14 would be used to independently support
                                               DEVOLDER SANTOS's candidacy for the House and
                                               that Company #I was a Section 501(c)(4) social
                                               welfare organization that could accept limitless
                                               contributions.

    THIRTEEN          October 20, 2022         Email on behalf of Company # I to Contributor# 13
                                               falsely stating that funds received from Contributor
                                               # I 3 would be used, in part, to purchase television
                                               advertisements supporting DEVOLDER SANTOS's
                                               candidacy for the House.

    FOURTEEN          October 2 I, 2022        Text message from DEVOLDER SANTOS to
                                               Contributor # I 4 falsely stating that funds received
                                               from Contributor# I 4 would be used, in part, to
                                               purchase television advertisements supporting
                                               DEVOLDER SANTOS's candidacy for the House.

    FIFTEEN           October 25, 2022         Text message on behalf of Company #I to Contributor
                                               # I 3 falsely stating that funds received from
                                               Contributor# 13 would be used, in part, to purchase
                                               advertisements supporting DEVOLDER SANTOS's
                                               candidacy for the House.


                   (Title 18, United States Code, Sections 1343, 2 and 3551 et seq.)

                          COUNTS SIXTEEN THROUGH EIGHTEEN
          (Unlawful Monetary Transactions Over $10,000 - the Company # I Fraud Scheme)

                   89.     The allegations contained in paragraphs one through 65 are realleged and

   incorporated as if fully set forth in this paragraph.

                  90.      On or about and between October 21, 2022, and October 26, 2022, both

  dates being approximate and inclusive, within the Eastern District of New York and elsewhere,

  the defendant GEORGE ANTHONY DEVOLDER SANTOS, also known as "George Santos,"

  together with others, did knowingly and intentionally engage in one or more monetary

  transactions, in and affecting interstate commerce, in criminally derived property that was of a
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  value greater than $10,000, as set forth in the chart below, and that was derived from specified

  unlawful activity, to wit: wire fraud as charged in Counts Eleven through Fifteen, in violation of

  Title 18, United States Code, Section 1343, contrary to Title 18, United States Code, Section

   l 957(a):

        Count           Am~roximate Date                          Descrintion

    SIXTEEN          October 21 , 2022       On or about October 21, 2022, DEVOLDER SANTOS
                                             electronically transferred approximately $25,000
                                             fraudulently obtained from Contributor # 14 from
                                             Company #1 Bank Account to Devolder Santos Bank
                                             Account #1.

    SEVENTEEN October 26, 2022               On or about October 26, 2022, DEVOLDER SANTOS
                                             electronically transferred approximately $25,000
                                             fraudulently obtained from Contributor #13 from
                                             Company #1 Bank Account to Devolder Santos Bank
                                             Account#2.

   EIGHTEEN          October 26, 2022        On or about October 26, 2022, DEVOLDER SANTOS
                                             electronically transferred approximately $24,000
                                             fraudulently obtained from Contributor # 13 from
                                             Devolder Santos Bank Account #2 to Devolder Santos
                                             Bank Account # 1.

                 (Title 18, United States Code, Sections l 957(a), 1957(b), 2 and 3551 et seq.)

                                      COUNT NINETEEN
    (Theft of Public Money - Fraudulent Application for and Receipt of Unemployment Benefits)

                  91.      The allegations contained in paragraphs one through 65 are realleged and

  incorporated as if fully set forth in this paragraph.

                  92.      In or about and between June 2020 and April 2021, both dates being

  approximate and inclusive, within the Eastern District of New York and elsewhere, the defendant

  GEORGE ANTHONY DEVOLDER SANTOS, also known as "George Santos," did knowingly,

  willfully and without lawful authority embezzle, steal, purloin and convert to his own use money
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  and things of value of the United States and a department and agency thereof, to wit: money of

  the United States Department of the Treasury, the aggregate value of which exceeded $ I ,000.

                   (Title 18, United States Code, Sections 641 and 3551 et seq.)

                            COUNTS TWENTY AND TWENTY-ONE
          (Wire Fraud - Fraudulent Application for and Receipt of Unemployment Benefits)

                  93.     The allegations contained in paragraphs one through 65 are realleged and

   incorporated as if fully set forth in this paragraph.

                   94.    On or about and between June 19, 2020, and April 15, 2021, both dates

  being approximate and inclusive, within the Eastern District of New York and elsewhere, the

  defendant GEORGE ANTHONY DEVOLDER SANTOS, also known as "George Santos," did

  knowingly and intentionally devise a scheme and artifice to defraud the NYS DOL, and to obtain

  money from the NYS DOL by means of one or more materially false and fraudulent pretenses,

  representations and promises.

                  95.     On or about the dates set forth below, for the purpose of executing the

  scheme, and attempting to do so, the defendant GEORGE ANTHONY DEVOLDER SANTOS,

  also known as "George Santos," did transmit and cause to be transmitted, by means of wire

  communications in interstate and foreign commerce, writings, signs, signals, pictures and

  sounds, as set forth below:

       Count               Date                                  DescriQtion

    TWENTY         January I 9, 2021       On or about January 19, 2021, DEV OLDER SANTOS
                                           received $564.00 through interstate wires from the NYS
                                           DOL in New York to Devolder Santos Bank Account #2
                                           in New York, passing through one or more computer
                                           servers located outside New York.
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       Count               Date                                    Descrigtion

    TWENTY-        January 26, 2021        On or about January 26, 2021, DEVOLDER SANTOS
    ONE                                    received $564.00 through interstate wires from the NYS
                                           DOL in New York to Devolder Santos Bank Account #2
                                           in New York, passing through one or more computer
                                           servers located outside New York.

                  (Title 18, United States Code, Sections 1343, 2 and 3551 et seq.)

                                       COUNT TWENTY-TWO
                          (False Statements - 2020 House Disclosure Reports)

                  96.     The allegations contained in paragraphs one through 65 are realleged and

   incorporated as if fully set forth in this paragraph.

                  97.     On or about May 11, 2020, within the Eastern District of New York and

   elsewhere, the defendant GEORGE ANTHONY DEVOLDER SANTOS, also known as "George

   Santos," in a matter within the jurisdiction of the legislative branch of the Government of the

   United States, did knowingly and willfully make one or more materially false, fictious and

   fraudulent statements and representations, to wit: DEVOLDER SANTOS submitted to the Clerk

  of the House, for delivery to the House Committee on Ethics, an amended House Disclosure

   falsely stating that, during the applicable reporting period: (a) his only earned income consisted

  of a salary, commission and bonus totaling $55,000 from Company #2; and (b) the only

   compensation exceeding $5,000 he received from a single source in which he had an ownership

   interest was a commission bonus from Company #2, when in truth and in fact, as DEVOLDER

  SANTOS then and there well knew and believed, he had earned $27,555 from Company #2 in

  2019 and had received approximately $25,403 in income from Investment Firm # I during the

  same reporting period, which he failed to report as required.

                  (Title 18, United States Code, Sections I 00 I (a)(2}, (c)( I) and 3551 et seg.)
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                                       COUNT TWENTY-THREE
                           (False Statements - 2022 House Disclosure Report)

                  98.     The allegations contained in paragraphs one through 65 are realleged and

   incorporated as if fully set forth in this paragraph.

                  99.      On or about September 6, 2022, within the Eastern District of New York

  and elsewhere, the defendant GEORGE ANTHONY DEVOLDER SANTOS, also known as

  "George Santos," in a matter within the legislative branch of the Government of the United

   States, did knowingly and willfully make one or more materially false, fictious and fraudulent

  statements and representations, to wit: DEVOLDER SANTOS submitted to the Clerk of the

  House, for delivery to the House Committee on Ethics, a House Disclosure falsely stating that, in

  the year 2021 and in 2022 up to the filing date: (a) his earned income consisted of$750,000 in

   salary from the Devolder Organization LLC; (b) his unearned income included dividends from

  the Devolder Organization LLC valued at between $1,000,001 and $5,000,000; and (c) he had no

  compensation exceeding $5,000 from a single source in which he had an ownership interest.

   Further, DEVOLDER SANTOS falsely stated that (d) he owned a checking account with

   deposits totaling between $100,00 I and $250,000; and (e) he owned a savings account with

  deposits totaling between $1,000,00 I and $5,000,000. Contrary to these statements, in truth and

   in fact, as DEVOLDER SANTOS then and there well knew and believed, he had not received

   from the Devolder Organization LLC the reported amounts of salary or dividends; he did not

   maintain checking or savings accounts with deposits in the reported amounts; and he received

  approximately $28, I 07 in income from Investment Firm # 1 and approximately $20,304 in

   unemployment insurance benefits from the NYS DOL during the same reporting period, all of

  which he failed to report as required.

                   (Title 18, United States Code, Sections 100l(a)(2), (c)(l) and 3551 et~.)
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                       CRIMINAL FORFEITURE ALLEGATION
           AS TO COUNTS ONE THROUGH THREE, ELEVEN THROUGH FIFTEEN,
                      AND NINETEEN THROUGH TWENTY-ONE

                  100.    The United States hereby gives notice to the defendant that, upon his

  conviction of any of the offenses charged in Counts One through Three, Eleven through Fifteen

  and Nineteen through Twenty-One, the government will seek forfeiture in accordance with Title

   18, United States Code, Section 98l(a)(l)(C) and Title 28, United States Code, Section 246l(c),

  which require any person convicted of such offenses to forfeit any property, real or personal,

  constituting, or derived from, proceeds obtained directly or indirectly as a result of such offenses.

                  101.    If any of the above-described forfeitable property, as a result of any act or

  omission of the defendant:

                          (a)     cannot be located upon the exercise of due diligence;

                          (b)     has been transferred or sold to, or deposited with, a third party;

                          (c)     has been placed beyond the jurisdiction of the court;

                          (d)     has been substantially diminished in value; or

                          (e)     has been commingled with other property which cannot be divided

  without difficulty;

   it is the intent of the United States, pursuant to Title 21, United States Code, Section 853(p), to

  seek forfeiture of any other property of the defendant up to the value of the forfeitable property

  described in this forfeiture allegation.

                  (Title 18, United States Code, Section 981 (a)(l )(C); Title 21, United States Code,

  Section 853(p); Title 28, United States Code, Section 246l(c))
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                                CRIMINAL FORFEITURE ALLEGATION
                                       AS TO COUNT NINE

                  102.    The United States hereby gives notice to the defendant that, upon his

  conviction of the offense charged in Count Nine, the government wi11 seek forfeiture in

  accordance with: (a) Title 18, United States Code, Section 982(a)(2)(B), which requires any

  person convicted of such offense to forfeit any property constituting, or derived from, proceeds

  obtained directly or indirectly as a result of such offense; and (b) Title 18, United States Code,

  Section 1029(c)( I )(C), which requires any person convicted of such offense to forfeit any

  personal property used or intended to be used to commit the offense.

                  I 03.   If any of the above-described forfeitable property, as a result of any act or

  omission of the defendant:

                          (a)     cannot be located upon the exercise of due diligence;

                          (b)     has been transferred or sold to, or deposited with, a third party;

                          (c)     has been placed beyond the jurisdiction of the court;

                          (d)     has been substantial1y diminished in value; or

                          (e)     has been commingled with other property which cannot be divided

  without difficulty;

  it is the intent of the United States, pursuant to Title 21, United States Code, Section 853(p), as

  incorporated by Title 18, United States Code, Sections 982(b)(I) and 1029(c)(2), to seek

  forfeiture of any other property of the defendant up to the value of the forfeitable property

  described in this forfeiture allegation.

                  (Title 18, United States Code, Sections 982(a)(2)(B), 982(b)(I), I 029(c)(I )(C)

  and 1029(c)(2); Title 21, United States Code, Section 853(p))
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                             CRIMINAL FORFEITURE ALLEGATION
                         AS TO COUNTS SIXTEEN THROUGH EIGHTEEN

                  104.    The United States hereby gives notice to the defendant that, upon his

   conviction of any of the offenses charged in Counts Sixteen through Eighteen, the government

   will seek forfeiture in accordance with Title 18, United States Code, Section 982(a)( 1), which

   requires any person convicted of such offenses to forfeit any property, real or personal, involved

   in such offenses, or any property traceable to such property.

                  105.    If any of the above-described forfeitable property, as a result of any act or

  omission of the defendant:

                          (a)     cannot be located upon the exercise of due diligence;

                          (b)     has been transferred or sold to, or deposited with, a third party;

                          (c)     has been placed beyond the jurisdiction of the court;

                          (d)     has been substantially diminished in value; or

                          (e)     has been commingled with other property which cannot be divided

  without difficulty;

   it is the intent of the United States, pursuant to Title 21, United States Code, Section 853(p), as

   incorporated by Title 18, United States Code, Section 982(b)( 1), to seek forfeiture of any other
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  property of the defendant up to the value of the forfeitable property described in this forfeiture

  allegation.

                  (Title 18, United States Code, Sections 982(a)( I) and 982(b)( I); Title 21, United

  States Code, Section 853(p))


                                                                      A TRUE BILL

                                                                      /s/

                                                                      FOREPERSON



  /REON PEA
   lJNITEDsTATESATTORNEY
   EASTERN DISTRICT OF NEW YORK



  ~w~~Jt,
  CHIEF, PUBLIC INTEGRITY SECTION
  U.S. DEPARTMENT OF JUSTICE
